    Case 1:12-cr-00323-WSD-CMS Document 14 Filed 11/20/12 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

UNITED STATES OF AMERICA               :
                                       :     CRIMINAL ACTION
                                       :
          v.                           :     NO. 1:12-CR-323-WSD-ECS
                                       :
EDWARD K. KIM,                         :
                                       :
                 Defendant.            :

                    NOTICE OF ENTRY OF APPEARANCE

     Assistant U.S. Attorney Dahil D. Goss hereby files this

Notice of Appearance and respectfully requests that she be added

as an additional counsel of record for the United States of

America for asset forfeiture issues.

                                 Respectfully submitted,

                                 SALLY QUILLIAN YATES
                                 UNITED STATES ATTORNEY

                                 /s/ Dahil D. Goss
                                 DAHIL D. GOSS
                                 ASSISTANT U.S. ATTORNEY
                                 GEORGIA BAR NO. 302905
                                 600 U.S. COURTHOUSE
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    Case 1:12-cr-00323-WSD-CMS Document 14 Filed 11/20/12 Page 2 of 2




                       CERTIFICATE OF SERVICE

     I hereby certify that I have prepared the foregoing Notice

of Entry of Appearance in compliance with Local Rule 5.1, NDGa.,

using Courier New 12-point type and have this day electronically

filed the document with the Clerk of Court using the CM/ECF

system which will automatically send e-mail notification of such

filing to the attorneys of record.


     This 20th day of November, 2012.

                                 /s/ Dahil D. Goss
                                 DAHIL D. GOSS
                                 ASSISTANT U.S. ATTORNEY
                                 GEORGIA BAR NO. 302905
